                       Case 1:21-cr-00579-DLF Document 1 Filed 01/20/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                              v.                                     )
                 BRANDON STRAKA                                      )      Case No.
                                                                     )
                                                                     )
                                                                     )
         'DWHRI%LUWK;;;;;;;;                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                                  in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. 231(a)(3) - impeding law enforcement officer during civil disorder;
             18 U.S.C. 1752(a)(1) and (2) - knowingly entering and remaining on restricted grounds without lawful
             authority and/or engaging in disorderly conduct within proximity to a restricted building to impede
             official functions;
             40 U.S.C. 5104(e)(2)(D) - engage in disorderly conduct with intent to disturb a hearing before Congress.


         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                                Complainant’s signature

                                                                                               Jeremy Desor, Agent
                                                                                                 Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             01/20/2021
                                                                                                          Judge’s signature

City and state:                         :DVKLQJWRQ'&                           Robin
                                                                                    _     M. Meriweather, U.S. Magistrate Judge_
                                                                                                 Printed name and title
